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                        IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA
                              CRIMINAL MOTION HEARING

UNITED STATES OF AMERICA,                                            COURT MINUTES
                                                                     BEFORE: Tony N. Leung
                             Plaintiff,                               U.S. Magistrate Judge
v.                                                      Case No:         19-cr-295 (PJS/TNL)
                                                        Date:              January 23, 2020
Julia Rene Ayers (1),                                   Court Reporter: Maria Weinbeck
                                                        Courthouse:        Minneapolis
                             Defendant.                 Courtroom:          9W
                                                        Time Commenced: 2:45 p.m.
                                                        Time Concluded: 3:17 p.m.
                                                        Sealed Hearing Time: N/A
                                                        Time in Court:       37 Minutes
                                                        Hearing Type: Oral Argument

APPEARANCES:
Plaintiff: Allen A. Slaughter, Jr., Assistant U.S. Attorney
For Defendant Julia Rene Ayers (1): Shannon R. Elkins, FPD
                                       Steven J. Wright, CJA


Deft(s). addtl briefs due: February 7, 2020   Govt. addtl briefs due: February 24, 2020

Non-Dispositive motions taken under advisement as of today: N/A
Non-Dispositive motions taken under advisement as of 2/24/2020: 15, 16, 17, 18, 19, 21, 24

☒ ORDER TO BE ISSUED ☐ NO ORDER TO BE ISSUED ☐ R&R TO BE ISSUED              ☒ NO R&R TO BE ISSUED
   ☐ Exhibits retained by the Court ☐ Exhibits returned to counsel

Reset Hearings:
Voir Dire/Jury Instruction Due Date: To be determined
Trial Date: To be determined Before: Hon. Patrick J. Schiltz Crtrm: 14E, Minneapolis
Status Conference Date: To be determined Before: Hon. Patrick J. Schiltz Crtrm: 14E, Minneapolis




                                                                                                       s/EJB
                                                                                      Signature of Law Clerk
